Case 6:20-cv-01163-MTK   Document 387-9   Filed 07/07/25   Page 1 of 8




                                                   Appendix 9, Page 1 of 8
Case 6:20-cv-01163-MTK   Document 387-9   Filed 07/07/25   Page 2 of 8




                                                   Appendix 9, Page 2 of 8
Case 6:20-cv-01163-MTK   Document 387-9   Filed 07/07/25   Page 3 of 8




                                                   Appendix 9, Page 3 of 8
Case 6:20-cv-01163-MTK   Document 387-9   Filed 07/07/25   Page 4 of 8




                                                   Appendix 9, Page 4 of 8
Case 6:20-cv-01163-MTK   Document 387-9   Filed 07/07/25   Page 5 of 8




                                                   Appendix 9, Page 5 of 8
Case 6:20-cv-01163-MTK   Document 387-9   Filed 07/07/25   Page 6 of 8




                                                   Appendix 9, Page 6 of 8
Case 6:20-cv-01163-MTK   Document 387-9   Filed 07/07/25   Page 7 of 8




                                                   Appendix 9, Page 7 of 8
          Case 6:20-cv-01163-MTK                  Document 387-9                  Filed 07/07/25                Page 8 of 8

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